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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 18-20393-CR-COOKE(s)

   UNITED STATES OF AMERICA

   v.

   SANDRA RUBALLO and
   CARLOS MONTOYA,

                     Defendants.
   ________________________________/

                         GOVERNMENT’S PROPOSED EXHIBIT LIST

          The United States hereby submits the attached proposed exhibit list. An exhibit set for the

   Court can be provided upon request.

                                               Respectfully submitted,

                                               ARIANA FAJARDO ORSHAN
                                               UNITED STATES ATTORNEY

                                         By:    /s/ Lisa H. Miller
                                               Lisa H. Miller
                                               Court ID No. A5502054
                                               Assistant United States Attorney
                                               99 NE 4th Street
                                               Miami, FL 33132
                                               Tel: (786) 360-9775
                                               Email: Lisa.Miller@usdoj.gov
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA                                 GOVERNMENT EXHIBIT LIST

                 v.

   SANDRA RUBALLO and
   CARLOS MONTOYA,                                          CASE NUMBER: 18-20393-CR-
                                                            COOKE(s)
                           Defendants.

PRESIDING JUDGE                                GOVERNMENT                DEFENDANTS’
                                               ATTORNEYS                 ATTORNEYS
Hon. Marcia G. Cooke
                                               Lisa H. Miller,           Mycki Ratzan, Esq., Jude
                                               Daniel J. Marcet          Faccidomo, Esq., and Rachel
                                               Assistant United States   Curtis, Esq. for Ruballo;
                                               Attorneys                 Joseph Rosenbaum, Esq. and
                                                                         Kimberly Acevedo, Esq. for
                                                                         Montoya
TRIAL DATE                                     COURT REPORTER            COURTROOM DEPUTY
Trial Beginning March 4, 2019                                            Ivan Marchena
GOV. NO.   DEF    DATE      MARKE   ADMITTED              DESCRIPTION OF EXHIBITS
           NO.   OFFERED    D

  GX 1                                         Summary of three charged wires: May 16, 2013 wire of
                                               845,582.05 to Highland Food Resources, warrant no.
                                               0617543; February 19, 2015 wire of $859,978.11 to
                                               Highland Food Resources, warrant no. 0440044; October
                                               19, 2015 wire of $909,098.32 to Highland Food
                                               Resources, warrant no. 0212354
 GX 2A                                         FY 2012-2013 Highland Annual Sponsor Re-
                                               Certification Signed by Sandra Ruballo on 8/31/2012
 GX 2B                                         CCFP Renewal Approval Letter FY 2012-2013
 GX 3A                                         FY 2014-2015 Highland Annual Sponsor Re-
                                               Certification Signed by Sandra Ruballo on 9/2/2014
 GX 3B                                         CCFP Renewal Approval Letter FY 2014-2015
 GX 4A                                         FY 2015-2016 Highland Annual Sponsor Re-
                                               Certification Signed by Sandra Ruballo on 9/10/2015
 GX 4B                                         CCFP Renewal Approval Letter FY 2015-2016
 GX 4C                                         Conflict of Interest Certification Signed by Sandra
                                               Ruballo on October 9, 2015


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 GX 5A                                Summary of payments from Montoya Holdings Inc. to
                                      Highland Food Resources
 GX 5B                                February 10, 2017 letter from Montoya to Highland Food
                                      Resources Board of Directors, re: donation of $160,000
                                      “intended to help you in your efforts to continue to be
                                      providing efforts to the children of South Florida”
 GX 5C                                February 15, 2017 letter from Claudia Mosley, Chairman
                                      of the Board, thanking Montoya for $160,000 donation,
                                      stating “[y]our gift will help us subsidize expenses that
                                      are not covered by the programs we currently have.”
 GX 5D                                Summary of source of funds for $160,000 payment from
                                      Montoya to Highland and composite of underlying bank
                                      records
 GX 5E                                Summary of funding for and expenditure of $160,000 and
                                      composite of underlying bank records
 GX 5F                                Summary and composite of all other donations to Sandra
                                      Ruballo/HFR
 GX 6A                                Composite of HFR Budgets, 2011-2018
 GX 6B                                Sunbiz – corporate documents for G&D
 GX 6C                                Checks from HFR to G&D, and G&D to Yudy Miranda
                                      (composite)
 GX 6D                                Summary of account activity re HFR/YM/G&D
 GX 6E                                Sunbiz – corporate documents for Maggio Jr. Enterprises
 GX 6F                                Checks from HFR to Maggio Jr. Ents. (composite)
 GX 6G                                Checks from Maggio Jr. Ents. to Advance Concepts
                                      (composite)
 GX 6H                                Summary of account activity re HFR/Maggio Jr.
                                      Enterprises/Advance Concepts
  GX 6I                               Sunbiz – corporate documents for JFS III Inc.
 GX 6J                                Checks from HFR to JFS III Inc. (composite)
 GX 6K                                Checks from JFS III Inc. to Advance Concepts LLC
                                      (composite)
 GX 6L                                Summary of account activity re HFR/JFS III/Advance
 GX 6M                                Advance Concepts LLC bank signature card(s)
 GX 6N                                Advance Concepts LLC deposit slips (full collection)
 GX 6O                                Advance Concepts LLC – summary of inflows/outflows
  GX 7                                Check no. 24368, dated January 2, 2015, debited from
                                      HFR’s Wells Fargo account ending in 5804, for $1,100,
                                      for “Suite 214 Office Maintenance for December 2014”


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  GX 8                                January 12, 2015 deposit of check from JFS III Inc. into
                                      bank account for Advance Concepts LLC, for
                                      approximately $800
  GX 9                                Check no. 25963, dated August 3, 2015, debited from
                                      HFR’s Wells Fargo account ending in 5804 on August 4,
                                      2015, for $1,100, for “Suite 214 Office Maintenance for
                                      July 2015”
 GX 10                                August 7, 2015 deposit of check from JFS III Inc. into
                                      bank account for Advance Concepts LLC, for
                                      approximately $800
                          DOH / CCFP & DBPR DOCUMENTS

 GX 11                                   CCFP Fact Sheet
 GX 12                                   Sponsor Oversight Manual
 GX 13                                   CCFP Sponsor Procedure Manual
 GX 14                                   CCFP Governing Regulations 7 C.F.R. § 226
GX 15A-                                  Income Eligibility Guidelines (2007-2018)
  15L
 GX 16                                   Free and Reduced Reimbursement Rates
 GX 17                                   Overview of HFR As Independent Sponsor
 GX 18                                   8/31/2012 HFR Management Plan
 GX 19A                                  MIPS How-To File a Claim
 GX 19B                                  Sample Claim Filed
 GX 20                                   2009-2010 HFR Sponsor Contract
 GX 21                                   2011 HFR Permanent Sponsor Contract
 GX 22                                   2011-2012 HFR Conflict of Interest Certification
 GX 23                                   2013 HFR Executed Sponsor Agreement Renewal
 GX 24                                   2013-2014 HFR Renewal Acceptance Letter
 GX 25                                   2016-2017 HFR Renewal Acceptance Email
 GX 26                                   2017 HFR Executed Sponsor Agreement Renewal
 GX 27                                   2/20/16 HFR Conflict of Interest Certification
 GX 28                                   January 2017 HFR Code of Ethical Conduct
 GX 30                                   DOH Payment History to HFR
 GX 31                                   2011 DOH Payment to HFR Summary



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 GX 32                                2012 DOH Payment to HFR Summary
 GX 33                                2013 DOH Payment to HFR Summary
 GX 34                                2014 DOH Payment to HFR Summary
 GX 35                                2015 DOH Payment to HFR Summary
 GX 36                                2016 DOH Payment to HFR Summary
 GX 37                                2017 DOH Payment to HFR Summary
 GX 40A                               2012 HFR Budget
 GX 40B                               2012 Projected Administrative Earnings
 GX 41A                               2013 HFR Budget
 GX 41B                               2013 Projected Administrative Earnings
 GX 42A                               2014 HFR Budget
 GX 42B                               2014 Projected Administrative Earnings
 GX 43A                               2015 HFR Budget
 GX 43B                               2015 Projected Administrative Earnings
 GX 44A                               2016 HFR Budget
 GX 44B                               2016 Projected Administrative Earnings
 GX 45A                               2017 HFR Budget
 GX 45B                               2017 Projected Administrative Earnings
 GX 46                                FNS Financial Management Manual
 GX 47                                HFR Advance Earnings Worksheet
 GX 48                                HFR Emails regarding Adding Employees (Neal Margo)
 GX 49                                2012 DOH Emails Rejecting HFR Budget
 GX 50                                6/7/16 DOH Notice of Serious Deficiency Letter
 GX 51                                6/29/16 DOH Notice of Serious Deficiency Letter
 GX 52                                8/22/16 HFR Corrective Action Plan
 GX 53                                9/6/16 DOH Letter Approving Corrective Action Plan
 GX 54                                11/21/2016 HFR Management Plan
 GX 55                                12/20/2016 DOH Letter Regarding Bribes and
                                      Kickbacks
 GX 56                                2016-2017 Corrective Action Plan Correspondence



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 GX 57                                2017-2018 Corrective Action Plan Correspondence
 GX 58                                2005 Serious Deficiency Executed by Ruballo
 GX 60                                Chart of Enrollment of Florida CCFP Unaffiliated
                                      Sponsors (2012 to 2016)
 GX 61                                Chart of CCFP Funding to Florida CCFP Unaffiliated
                                      Sponsors (2012 to 2016)
 GX 62                                Bar Graph Comparing Enrollment and Funding to
                                      Florida CCFP Unaffiliated Sponsors (2012 to 2016)
 GX 63                                Bar Graph Comparing Free/Reduced/Non-Needy
                                      Children Served By Florida CCFP Unaffiliated Sponsors
                                      (2012 to 2016)
 GX 64                                Chart of Reimbursement per Enrollee for Florida CCFP
                                      Unaffiliated Sponsors (2012 to 2016)
 GX 65                                Chart of Average Reimbursement per Enrollee per
                                      Month for Florida CCFP Unaffiliated Sponsors (2012 to
                                      2016)
 GX 66                                Bar Graph of Free-Reduced Ratio for Florida CCFP
                                      Unaffiliated Sponsors (2012 to 2016)
 GX 67                                Scatter Plot Comparing HFR to Family Central (2012 to
                                      2016)
 GX 68                                Geographic Comparison of HFR to Family Central
                                      (2012 to 2016)
 GX 69                                Box and Whisker Plot Comparing Free-Reduced Ratio
                                      for Florida CCFP Unaffiliated Sponsors (2012 to 2016)
 GX 70                                Box and Whisker Plot Comparing Reimbursement per
                                      Enrollee for Florida CCFP Unaffiliated Sponsors (2012
                                      to 2016)
 GX 71                                Box and Whisker Plot Comparing ADP/Enrollment
                                      Ratio for Florida CCFP Unaffiliated Sponsors (2012 to
                                      2016)
 GX 72                                Spectrum Comparing Reimbursement per Enrollee for
                                      Florida CCFP Unaffiliated Sponsors (2012 to 2016)
 GX 73                                Spectrum Comparing Free-Reduced Ratio for Florida
                                      CCFP Unaffiliated Sponsors (2012 to 2016)
 GX 74                                DOH Analysis of HFR Free and Reduced Applications
 GX 80                                2012 Federal Funding to CCFP
 GX 81                                2013 Federal Funding to CCFP
 GX 82                                2014 Federal Funding to CCFP
 GX 83                                2015 Federal Funding to CCFP
 GX 84                                2016 Federal Funding to CCFP
 GX 85                                2017 Federal Funding to CCFP

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 GX 86                                CCFP Fund Theft Survey Executed by Ruballo
 GX 90                                2012 HFR Board Certification
 GX 91                                2013 HFR Board Certification
 GX 92                                2014 HFR Board Certification
 GX 93                                2015 HFR Board Certification
 GX 94                                2016 HFR Board Certification
 GX 95                                January 2017 Board Certification
 GX 96                                April 2017 Board Certification
                                      INTENTIONALLY LEFT BLANK
                               SUNBIZ DOCUMENTS

 GX 100                               Montoya Holdings
 GX 101                               Healthy Children Catering (Fictitious Name)
 GX 102                               Pelota Café and Pizzeria (Fictitious Name)
 GX 103                               Dixie Catering d/b/a David’s Food and Fun
 GX 104                               A Tasty Meal LLC
 GX 105                               Home Run Café
 GX 106                               JAA Group Corp.
 GX 107                               Advance Concepts LLC
 GX 108                               Highland Food Resources, Inc.
                                      INTENTIONALLY LEFT BLANK
                       PHOTOGRAPHS AND DAVID RECORDS
 GX 150                               Photograph of Sandra Ruballo
 GX 151                               Photograph of Ronaldo Ruballo
 GX 152                               Photograph of Michael Escobar
 GX 153                               Photograph of Emely Escobar
 GX 154                               Photograph of Eusebia Baires
 GX 155                               Photograph of Yudy Miranda
 GX 156                               Photograph of Veronica Cornavaca

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 GX 157                               Photograph of Sandy Marty
 GX 158                               Photograph of Amparo Osorio
 GX 159                               Photograph of Joyce Maggio
 GX 160                               Photograph of Maria Arce
 GX 161                               Photograph of Andrea Rospigliosi
 GX 162                               Photograph of Kandida Rinker
 GX 163                               Photograph of Ofelia Cuadra Noriega
 GX 164                               Photograph of Nohelia Tijerino
 GX 165                               Photograph of Janet Fortuny Li
 GX 166                               Photograph of Claudia Moseley
 GX 167                               Photograph of Father Anthony Mulderry
 GX 168                               Photograph of Patricia Rahmankhah
 GX 169                               Photograph of Mark K. Logan
 GX 170                               Photograph of Genoveva Duarte
 GX 171                               Photograph of Salvatore Maggio
 GX 172                               Photograph of Joseph Frank Spano III
 GX 173                               Photograph of Neal Margo
 GX 174                               Photograph of Carlos Montoya
 GX 175                               Photograph of Javier Pena
 GX 176                               Photograph of Christina Licourt
 GX 177                               Photograph of Joel Mezquia
 GX 178                               Photograph of Alexis Gonzalez
 GX 179                               Photograph of Cristian Taglieri
 GX 180                               Photograph of Maurice Douek
 GX 181                               Photograph of John Olmo
                                      INTENTIONALLY LEFT BLANK




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 GX 190                               DAVID records – Carlos Montoya, Sandra Ruballo,
   –                                  Ronaldo Ruballo, Eusebia Baires, Michael Escobar,
 GX 197                               Anthony Mulderry, Genoveva Duarte
                                      INTENTIONALLY LEFT BLANK
                         HFR SEARCH WARRANT EVIDENCE

 GX 200                               HFR Search Warrant Photos
 GX 201                               HFR Search Warrant Inventory Documents
 GX 202                               2014 Claims Swapping Inventory List
 GX 203                               January 2017 letter from Sandra Ruballo to Mark K.
                                      Logan
 GX 204                               February 2017 letter signed by Sandra Ruballo and Mark
                                      K. Logan
 GX 205                               February 2017 letter to Bergman Hirsch signed by Sandra
                                      Ruballo
 GX 206                               Checkbook records found in Sandra Ruballo’s desk area
 GX 207                               Checkbook records found in Sandra Ruballo’s desk area
 GX 208                               Records of $10,000 Promissory Note from HFR to Sandra
                                      Ruballo, and check to Sandra Ruballo dated 12/27/17,
                                      with interest payable at a rate of 0.5% per annum
 GX 209                               Dixie Catering Organizational Chart
 GX 210                               HFR Organizational Chart
 GX 211                               Sandra Ruballo Job Description, Signed September
                                      2016, and Health Benefits Plan for 2017-2018
 GX 212                               Sandra Ruballo payroll document
 GX 213                               Sandra Ruballo Employee File
 GX 214                               CAP re: Michael Escobar, signed by Sandra Ruballo, &
                                      Conflicts of Interest Certifications signed by
 GX 215                               Michael Escobar Employee File
 GX 216                               Procurement Conflict of Interest form signed by Sandy
                                      Marty, December 1, 2015
 GX 217                               Conflict of Interest and Ethics Policy Certifications –
                                      additional employees
   GX                                 Neal Margo Employee File
  218A

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    GX                                 Neal Margo Job Description and Wage Documents
   218B
  GX 219                               Select Employee Salary Information - 2013
  GX 220                               Eusebia Baires PARs and Timesheets
  GX 221                               Sandra Ruballo Driver License and HFR Debit Card
  GX 222                               West Coast Lease Application Signed by Sandra
                                       Ruballo, listing Carlos Montoya as a Reference
  GX 223                               February 2017 Staff Meeting Minute Notes
  GX 224                               2016 CCFP Annual Training Manual
  GX 225                               Montoya/Healthy Children Catering High Priority
                                       Violations – November 9, 2016 Inspection
  GX 226                               Email from Sandra Ruballo to Richard Seligman, stating
                                       he is in breach of contract and asking for 24-hour fix
  GX 227                               USDA Fraud Hotline Information – call to report fraud,
                                       waste, conflicts of interest, bribes
                                       INTENTIONALLY LEFT BLANK
            CATERING DEFICIENCY REPORTS AND RELATED DOCUMENTS
  GX 250                               Letters to Sandra Ruballo re: Montoya Catering, found
                                       during HFR Search Warrant
  GX 251                               Catering Deficiency Reports re: Montoya Catering,
                                       2012-2013, found during HFR Search Warrant
  GX 252                               Catering Deficiency Reports re: Montoya Catering, May
                                       2014 – March 2016, found during HFR Search Warrant
  GX 253                               Catering Deficiency Reports re: Montoya Catering,
                                       November 2016, found during HFR Search Warrant
  GX 254                               Catering Deficiency Reports sent by Sandra Ruballo to
                                       Department of Health, 2015
  GX 255                               Catering Deficiency Reports sent by Sandra Ruballo to
                                       Department of Health, 2016
  GX 256                               Falsified Catering Deficiency Reports
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                   FOODBORNE ILLNESS OUTBREAK DOCUMENTS

  GX 270                               11/8/16 Ruballo Email re: Staph Outbreak
  GX 271                               Ave Maria Foodborne Illness Worksheet
  GX 272                               Kidtown Elementary Foodborne Illness Worksheet
  GX 273                               Pictures of Staph-Infected Food from Meninho-Meninha
  GX 274                               Pictures of Staph-Infected Food from Sheyes Daycare
  GX 275                               DBPR Stop-Sale Order
  GX 276                               DOH Lab Report re:Staph
  GX 277                               DOH Outbreak Report
  GX 278                               DOH National Outbreak Report
  GX 279                               DBPR Investigation Observations
  GX 280                               Montoya Falsified Lab Report
                                       INTENTIONALLY LEFT BLANK
                              CATERING DOCUMENTS

  GX 300                               Blank Attachments 8, 9, and 12 to Standard Catering
                                       Contract (conflicts certifications and independent price
                                       certification)
  GX 301                               Catering Binder
  GX 302                               B. Crosby Summary of Formal/Informal Competitive
                                       Procurement Information (color-coded summary chart)
  GX 303                               Approved CCFP Caterer Lists, 2010-2017
  GX 304                               9/17/2012 S. Ruballo email re removing bond
                                       requirement from catering contract
  GX 305                               9/24/2012 Miami-Dade Blanket Contract Bid Documents
  GX 306                               11/20/2012 Crosby-K. Schoen email re: Montoya
                                       Documents
  GX 307                               9/2013 emails – B.Crosby-Sandra Ruballo re West Coast
                                       advertisements & Montoya Attachment 7 Deficiency
  GX 308                               9/2013 emails re: West Coast advertising
  GX 309                               9/25/2013 West Coasat FY 2013-2014 bid/procurement
                                       documents
  GX 310                               9/30/2013 B. Crosby approval of C. Montoya West Coast
                                       blanket contract award
  GX 311                               9/22/2014 Broward/PBC Formal Bid Pickup Documents


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  GX 312                               9/23/2014 B. Crosby letter approving Montoya blanket
                                       contract for Broward/Palm Beach
  GX 313                               12/11/2014 Complaint re: HFR / West Coast – S. Game
  GX 314                               12/2014 emails attaching food pictures – sent to S.
                                       Ruballo
  GX 315                               12/24/2014 email from S. Ruballo to B. Crosby
                                       acknowledging receipt of food service inspection reports
                                       by DBPR of Montoya Holdings, finding numerous high
                                       priority violations
  GX 316                               9/29/2015 B. Crosby letter approving FY 2014-2015
                                       Dade contract for Montoya Holdings
  GX 317                               9/29/2015 email correspondence re: 1st Studio Arts
  GX 318                               1st Studio Arts Bid documents (2015 Dade)
  GX 319                               3/22/2016 email from J. Olmo to Sandra Ruballo
                                       declining request to participate in bidding; Attachment 7
                                       signed by Carlos Montoya for March 2016 bid
  GX 320                               7/7/2016 email from Sandra Ruballo to B. Crosby re
                                       Monroe County signed page 26 – dated 4/1/2016
  GX 321                               B. Crosby memo to file re: S. Ruballo phone conversation
  GX 322                               9/14/2016 S. Ruballo email cc: B. Crosby rejecting bid
                                       because not sealed (GA Foods)
  GX 323                               9/15/2016 S. Ruballo emails to rejected caterers
  GX 324                               9/27/2016 DOH email to Sandra Ruballo re: need for
                                       three bidders for competitive procurement
  GX 325                               Miami-Dade Renewal Contract FY 2016-2017
  GX 326                               Broward-Palm Beach Renewal Contract FY 2016-2017
  GX 327                               Monroe Renewal Contract FY 2016-2017
  GX 328                               9/21/2016 K. Schoen email chain
  GX 329                               9/21/2016 K. Schoen email chain attaching photographs
  GX 330                               Video documenting food delivered from Montoya
  GX 331                               11/8/2016 email from B. Crosby re instructions for
                                       temporary contracts to replace Montoya
  GX 332                               11/14/2016 email indicating Mark Logan/Highland will
                                       send catering deficiency reports by COB and that HFR is
                                       working to submit amended budget and replace Montoya
  GX 333                               11/23/2016 – Dixie Catering – first temporary contract
                                       signature page
  GX 334                               1/25/2017 bid documents re: 11:00 a.m. Dixie Catering



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  GX 335                               Sponsor copy – executed catering contract for Dixie
                                       Catering 11:00 a.m. bid – signed by Sandra Ruballo and
                                       “Christian Taglieri”
  GX 336                               1/25/2017 bid documents re: 11:10 a.m. Dixie Catering
  GX 337                               3/14/2017 bid documents re: 11:05 a.m. re-bid (Dixie
                                       Catering does not win bid)
  GX 338                               FY 2012-13+ Blanket Catering Contract signed by Sandra
                                       Ruballo and Carlos Montoya on July 18, 2013
  GX 339                               FY 2013-2014 sponsor copy of Blanket Catering Contract
                                       signed by Sandra Ruballo/HFR and Montoya Holdings in
                                       September 2013
  GX 340                               7/17/2013 bid documents, Attachment 7 signed by C.
                                       Montoya
  GX 341                               FY 2012-2013 Catering Contract
  GX 342                               9/30/2013 West Coast bid documents
  GX 343                               FY 2014-2015 Dade Blanket Contract
  GX 344                               West Coast Renewal Catering Contract FY 2014-2015
  GX 345                               May 2016 SR-CM Contract
  GX 346                               FY 2016-2017 Blanket Contract Renewal
  GX 347                               FY 2016-2017 Blanket Contract Renewal
  GX 348                               FY 2016-2017 Blanket Contract Renewal
  GX 349                               A Tasty Meal Price Schedules – 2018
  GX 350                               Letter to Carlos Montoya from Amparo Olstein and
                                       attached photographs
  GX 351                               March 2017 Department of Health documents re: March
                                       2017 T/A re: Montoya
  GX 352                               3/22/2017 Notice of Emergency Suspension – Carlos
                                       Montoya
  GX 353                               3/23/2017 DOH Order of Emergency Suspension of
                                       Carlos Montoya Catering Registration
  GX 354                               3/28/2017 B. Crosby email re: Montoya suspension to all
                                       CCFP contractors
  GX 355                               3/31/2017 DBPR Emergency Suspension
  GX 356                               6/8/2017 Stipulation and Consent Order
  GX 357                               Montoya Deposition Transcript
  GX 358                               Catering Spreadsheets
   – GX
    359


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  GX 360                               Montoya Catering Composite Exhibits
   – GX
    365
                                       INTENTIONALLY LEFT BLANK
             DIXIE CATERING (CRISTIAN TAGLIERI) BUSINESS RECORDS

  GX 400                               5/10/2017 email from Carlos Montoya to Cristian
                                       Taglieri re: sale of business, salaries, prices
  GX 401                               March 16, 2017 DBPR inspection of Dixie Catering
  GX 402                               Email from B. Crosby to Cristian Taglieri re: Dixie high
                                       priority violations
  GX 403                               9/28/2017 Attachment 7s signed by Ivelisse Taveras for
                                       Dixie Catering
  GX 404                               Composite of signature pages – “Christian” Taglieri
  GX 405                               Dixie Accounting Records: 8/2016; 11/2016; 12/2016
  GX 406                               Dixie Daycares income – 1/2017 and 2/2017
  GX 407                               4/21/2017 Email from C. Taglieri to DBPR, attaching
                                       documents showing takeover of Montoya Hialeah kitchen
  GX 408                               4/9/2017 email from Montoya to C. Taglieri re: proposed
                                       sale terms
  GX 409                               6/1/2017 email from C. Taglier to Montoya re: sale price
  GX 410                               CD – Excel Spreadsheets – Dixie Business Records
  GX 411                               Contract for Sale – Dixie/Montoya
                           INTENTIONALLY LEFT BLANK
                          MONTOYA HOLDINGS RECORDS

  GX 450                               Complaint log
  GX 451                               December 2016 letter to Josh Phillips, signed by Carlos
                                       Montoya, stating that,“due to our financial hardship, we
                                       are unable to build a public bathroom.”
  GX 452                               January 2017 Montoya-Ruballo Agreement
                                       INTENTIONALLY LEFT BLANK
                        BOARD OF DIRECTORS DOCUMENTS
  GX 460                               2017 Board of Directors Meeting Minutes


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  GX 461                               2014 Board of Directors Certification
  GX 462                               3/23/2017 Patricia Rahmankhah Resignation Email
  GX 463                               Patricia Rahmankhah – Sandra Ruballo Resignation-
                                       Related Text Messages
                            INTENTIONALLY LEFT BLANK
                                  PHONE EXHIBITS
  GX 500                              CD Containing Ruballo Phone Extraction
  GX 501                               CD Containing Montoya Phone Extraction
  GX 502                               CD Containing Miranda Phone Extraction
  GX 503                               CD Containing Pena Phone Extraction
  GX 510                               Notes from Ruballo’s Phone (Excerpts)
  GX 511                               Ruballo Messages with Miranda (from Ruballo Phone)
    GX                                 Ruballo Messages with Ronny Ruballo (from Ruballo
  512A-Z                               Phone) (Excerpts)
  GX 513                               Ruballo Messages with Sal Maggio (from Ruballo Phone)
  GX 514                               Ruballo Messages with John Olmo (from Ruballo
                                       Phone)
   GX                                  Ruballo Messages with Sandy Marty (from Ruballo
 515A-J                                Phone) (excerpts)
 GX516A                                Ruballo Messages with Christian Taglieri (from Ruballo
   -B                                  Phone (English and Spanish)
   GX                                  Ruballo Messages with Veronica Cournavaca (from
 517A-Z                                Ruballo Phone (excerpts)
   GX                                  Ruballo Messages with Maria Arce (from Ruballo
 518A-H                                Phone) (excerpts)
   GX                                  Ruballo Messages with Neal Margo (from Ruballo
 519A-B                                Phone)
   GX                                  Ruballo Messages with Joshua Escobar (from Ruballo
 520A-G                                Phone (excerpts)
   GX                                  Ruballo Messages with Michael Escobar (from Ruballo
 521A-G                                Phone (excerpts)
 GX 522                                Ruballo Deleted Messages with DOH Employee “E.W.”
                                       (from Ruballo Phone)
    GX                                 Ruballo Deleted Messages with Francisco Ponce (from
  523A-Z                               Ruballo Phone)
    GX                                 Ruballo Deleted Messages with “Teresa M” (from
  524A-B                               Ruballo Phone)
  GX 525                               Ruballo Messages with Patricia Ramankhah (from
                                       Ruballo Phone)

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  GX 526                               Ruballo Messages with Aaron Moscowicz (from Ruballo
                                       Phone)
  GX 527                               Ruballo Messages with “Kim Nails” (from Ruballo Phone
                                       (excerpts)
   GX                                  Photographs from Ruballo’s Phone
 528A-D
 GX 529                                Ruballo Messages with Claudia Moseley (from Ruballo
                                       Phone)
  GX 530                               Search History (from Ruballo Phone)
  GX 531                               Ruballo Messages with Tommy Lamkin (from Ruballo
                                       Phone)
  GX 540                               Contact Information for Ruballo (from Montoya Phone)
  GX 541                               Montoya Messages with Ruballo 4840 Phone (from
                                       Montoya Phone)
  GX 542                               Montoya Messages with Ruballo 6173 Phone “Sandra
                                       Personal” (from Montoya Phone) (English and Spanish)
  GX 543                               Montoya Messages with Ruballo 4919 Phone (from
                                       Montoya Phone) (English and Spanish)
   GX                                  Montoya Messages with Miranda (from Montoya Phone)
 544A-B                                (English and Spanish)
   GX                                  Montoya Messages with Taglieri (from Montoya Phone)
 545A-B                                (English and Spanish)
   GX                                  Montoya Messages with Pena (from Montoya Phone)
 546A-B                                (English and Spanish)
 GX 547                                Montoya Messages with Rodriguez (from Montoya
   A-B                                 Phone) (English and Spanish)
 GX548A                                Photographs from Montoya’s Phone
   -C
 GX 560                                Miranda Messages with Ruballo (from Miranda Phone)
                                       INTENTIONALLY LEFT BLANK
                             CELLULAR DATA EXHIBITS
 GX 570 -                              Pen Trap/Trace Summary Exhibits – Carlos Montoya
   572                                 and Sandra Ruballo Phone Activity
                                       INTENTIONALLY LEFT BLANK
                         FREE AND REDUCED APPLICATIONS
  GX 580                               Angeles Ruiz/child: Adriana Perez de la Blanca
  GX 581                               Marthe Jackson/child: Christopher Jackson
  GX 582                               Ingrid de Varona/child: Darien de Varona


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  GX 583                               Enrique Ramentol/child: Adrian Ramentol
  GX 584                               Free and Reduced Forms signed by Sandra Ruballo
                                       INTENTIONALLY LEFT BLANK
                  YUDY MIRANDA DOCUMENTS & OTHER EVIDENCE
  GX 600                               Yudy Miranda Plea Agreement
  GX 601                               Yudy Miranda Factual Proffer
  GX 602                               Photographs from search of Yudy Miranda residence
  GX 603                               Photographs of USB
  GX 604                               Montoya kickback log spreadsheets
  GX 605                               Yudy Miranda bank records – Bank of America x0616
  GX 606                               Free and Reduced Priced Meal Application Forms
                                       classified by HFR employees including Yudy Miranda,
                                       Eusebia Baires, Amparo Osorio, K. Rinker, and others
  GX 607                               Free and Reduced Priced Meal Application Forms –
                                       2013-2014 (Fit Kids)
  GX 608                               Gomez family Free and Reduced Priced Meal
                                       Application Forms
  GX 609                               It’s a Small World – Free and Reduced Price Meal
                                       Application Forms
                 EUSEBIA BAIRES DOCUMENTS & OTHER EVIDENCE
  GX 610                               Instructions for Completion: Back of Free and Reduced
                                       Price Meal Application Form
  GX 611                               Free and Reduced Price Meal Application Forms from
                                       audit of It’s A Small World Learning Center II Inc. –
                                       signed by “Eusebia Baires” on August 13, 2012
  GX 612                               Free and Reduced Price Meal Application Forms from
                                       audit of Ms. Claudia’s Village Academy – signed by
                                       “Eusebia Baires” on September 14, 2012
  GX 613                               Free and Reduced Price Meal Application Forms from
                                       audit of Stars of the World #2 – signed by “Eusebia
                                       Baires” on November 9, 2012



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  GX 614                               Free and Reduced Price Meal Application Forms from
                                       audit of It’s A Small World Academy Inc. – signed by
                                       “Eusebia Baires” on August 12, 2013
  GX 615                               Free and Reduced Price Meal Application Forms from
                                       audit of Our Little World Preschool – signed by
                                       “Eusebia Baires” in 2014
  GX 616                               Free and Reduced Price Meal Application Forms from
                                       audit of Our Little World Preschool – signed by
                                       “Eusebia Baires” in March 2014
  GX 617                               Summary/Composite of Eusebia Baires Travel Records
                                       vs. PARs, Timesheets and Free and Reduced
                                       Applications
  GX 618                               Signature Cards – Eusebia Baires Bank Accounts
  GX 619                               Summary Chart - Eusebia Baires Bank Records
  GX 620                               Check 456 signed by Eusebia Baires, for $2,495
                    FINANCIAL RECORDS AND SUMMARY CHARTS
  GX 621                               Wages reported to Department of Revenue for Carlos
                                       Montoya; Sandra Escobar Ruballo; Yudy Miranda;
                                       Eusebia Baires Soriano
  GX 622                               Summary of CCFP payments to Highland – 2011-2018
  GX 623                               Summary of CCFP payments to Highland – 2011-2018:
                                       Yearly Funds Retained by Sponsor Summary
  GX 624                               Summary of Overpayments to Highland due to
                                       Alteration of Free and Reduced Applications, 2012-16
  GX 625                               DOH Catering Payment Analysis, FY 11-17 [$16M]
  GX 626                               Summary of financial records: payments to Montoya for
                                       Blanket Catering Contracts, 12/24/12 – 2/13/17
                                       [$13.69M]
  GX 627                               Composite of checks from HFR to Montoya, 12/24/12 –
                                       2/13/17
  GX 628                               Summary of payments to Dixie Catering from HFR,
                                       12/22/16 – 8/16/17 [$962,387]
  GX 629                               Composite of checks from HFR to Dixie Catering


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  GX 630                               Summary of payments between Montoya and Dixie
                                       Catering, showing > $800,000 to Montoya from Dixie
  GX 631                               Composite exhibit of photographs from Carlos Montoya
                                       phone (of checks) vs. bank records/actual checks
  GX 632                               Summary: Cash withdrawals by Carlos Montoya and
                                       Javier Pena, 2012-2017
  GX 633                               Cash withdrawal slips from Montoya Holdings x2306
                                       account – signed by Carlos Montoya
  GX 634                               Summary – transfers from Carlos Montoya to Javier
                                       Pena, 2012 – 2017
  GX 635                               Summary – Javier Pena/Homerun Café Cash
                                       Withdrawals, 2012 – 2017
  GX 636                               Summary of Cash Deposits into Sandra Ruballo
                                       accounts, 2012 – 2017
  GX 637                               Total Summary of HFR-Related Payments to Sandra
                                       Ruballo – Salary, Kickbacks, etc., 2012 – 2017
  GX 638                               Summary of Kickback Logs (Ruballo Phone Notes and
                                       Montoya Kickback Log Spreadsheets), October 2012 –
                                       May 2013
  GX 639                               Summary – Estimate of Total Kickbacks
  GX 640                               Kickback log and checks corroborating kickback
                                       amounts
  GX 641                               Kickback log and check corroborating – Javier Pena
  GX 642                               Claim records corroborating Montoya kickback log
  GX 643                               Loan to Yudy Miranda for $2,100 from HFR, signed by
                                       Sandra Ruballo, in check dated May 30, 2013; and
                                       repayment checks from Yudy Miranda
  GX 644                               Summary of payments from Carlos Montoya to Yudy
                                       Miranda (directly and for mortgage payments)
  GX 645                               Composite –Ruballo phone note re: $5,854 payment to
                                       Montoya; checkbook from Ruballo’s desk showing entry
                                       for check 5045, $5,854 to Montoya Holdings; and check
                                       no. 5045 from HFR x5249 account, signed by Ruballo,
                                       for $5,854 to Montoya Holdings, dated July 11, 2016

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  GX 646                               Excerpt from Sandra Ruballo Wells Fargo account
                                       x3901 showing deposit of $886.00 on 12/14/2012
  GX 647                               Advance Concepts LLC and Sandra Ruballo Tax
                                       Records Summary Charts (two pages)
  GX 648                               $4,000 cash deposit into Advance Concepts LLC –
                                       deposit slip initialed by Sandra Ruballo, June 2013
  GX 649                               $3,000 loan to Advance Concepts LLC from Sandra
                                       Ruballo, August 21, 2015; endorsed by Sandra Ruballo
  GX 650                               8/29/2017 payment to Spa Elements for $18,000; check
                                       signed by Sandra Ruballo, from Advance Concepts LLC
  GX 651                               Payments from Claudia Moseley to Advance Concepts
  GX 652                               $550 in donations from Father Anthony Mulderry
  GX 653                               12/13/2013 Deed for Sandra and Ronaldo Ruballo –
                                       Property in Cooper City, Florida; consideration of
                                       $375,000 recorded
  GX 654                               Payments from Sandra Ruballo to American Title,
                                       >$67,000
  GX 655                               Payment of $10,000 from Sandra Ruballo to American
                                       Title
  GX 656                               Check from Sandra Ruballo to Neal Margo for $2,000,
                                       for “forever debt” – August 1, 2012
  GX 657                               Pie Chart – debits from Sandra Ruballo x9596 account
  GX 658                               Monthly Salaries – Select HFR Employees based on
                                       annual budgets
  GX 659                               Summary of HFR employee salaries – based on budgets
  GX 660                               Summary of HFR payments to Sniffen & Spellman
  GX 661                               Composite of checks from HFR signed by Sandra
                                       Ruballo – to Sniffen & Spellman
  GX 662                               Summary of Carlos Montoya / Montoya Holdings Tax
                                       Analysis (two pages)
  GX 663                               March 2015 Montoya emails with Jorge Jordan re: taxes;
                                       “does not add up”


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  GX 664                               March 2016 Montoya emails with Jorge Jordan re: taxes,
                                       and business records – expenses not documented
  GX 665                               Carlos Montoya HUD-1 – Miramar Property [$1M]
  GX 666                               Carlos Montoya HUD-1 – Pembroke Pines Property
                                       December 2015
  GX 667                               Carlos Montoya property records – 3925 SW 139th
                                       Avenue, Davie, Florida
  GX 668                               Carlos Montoya property records – 2374 SW 125th
                                       Avenue, Miramar, Florida
  GX 669                               Carlos Montoya Property Records – 3651 SW 139th
                                       Avenue, Miramar, Florida
  GX 670                               Carlos Montoya Property Records – 3651 SW 139th
                                       Avenue, Miramar, Florida (deed; additional records)
  GX 671                               Carlos Montoya Vehicle information records
 GX 672-                               Summary: inflows/outflows, Montoya Holdings
  673
 GX 674-                               Summary: inflows/outflows, Highland Food Resources
  675
 GX 676                                Bank signature cards
                                       INTENTIONALLY LEFT BLANK
              CERTIFIED IRS FORM 990s – HIGHLAND FOOD RESOURCES
 GX 680 -                              Form 990s – for tax years ending September 2012-2017
   685
                                       INTENTIONALLY LEFT BLANK
                                 HFR ELECTRONICS
 GX 690-                               Reports re: Electronics Seized during HFR Search
  700                                  Warrant
                                       INTENTIONALLY LEFT BLANK
                                YUDY ELECTRONICS
 GX 705 -                              Morales Report re Yudy Electronics provided to law
   710                                 enforcement on December 30, 2017 – USB, Hard Drive,
                                       etc.; and screen shots from Morales Report



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